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                             UNITED STATES BANKRUPTCY COURT                         NTCTS (rev 01/2011)
                               SOUTHERN DISTRICT OF INDIANA
                                    121 W Spring St Rm 110
                                     New Albany, IN 47150

In Re:
    Eastern Livestock Co., LLC                                Case Number:
       SSN: NA               EIN: NA                          10−93904−BHL−11
    Debtor(s)                                                 JOINTLY ADMINISTERED

                    NOTICE OF FILING OF TRANSCRIPT AND
              DEADLINES RELATED TO RESTRICTION AND REDACTION

   A transcript of the proceeding held on January 13, 2012 was filed on January 20, 2012.

   Parties have until January 27, 2012, to file a Notice of Intent to Request Redaction of this
transcript with the Court. The deadline for filing a Request for Redaction is February 10, 2012.
Once a Request for Redaction is filed, the redacted transcript is due by February 21, 2012.

   The original or redacted transcript can be viewed from any public terminal at the Clerk's
Office. A copy of the transcript may also be purchased from the transcriber below:

      J & J Court Transcribers, Inc.
      268 Evergreen Avenue
      Hamilton, NJ 08619
      609−586−2311

    The transcript may be available on the Court's PACER site at http://pacer.insb.uscourts.gov
after the expiration of the restriction period which is April 19, 2012. This restriction period may
be extended by a court order. When a redacted transcript is available, only the redacted transcript
is accessible on the Court's PACER site.

Dated: January 23, 2012                            KEVIN P. DEMPSEY, CLERK
                                                   U.S. BANKRUPTCY COURT
